                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION

 TIMES PUBLISHING COMPANY

 v.                                       CASE NO. 8:23-mc-00014-WFJ-SPF
                                                   8:23-mj-1541-SPF
 UNITED STATES OF AMERICA

                                        ORDER

      Before the Court is the United States’ Motion to Partially Unseal Affidavit

for Search Warrant in the instant case. Upon consideration, the Court grants the

United States’ motion and ORDERS:

      1.     The Affidavit in Support of Application for Search Warrant

(“Affidavit in Support”) is partially unsealed with redactions and the United

States may provide a copy of the Affidavit in Support and its attachments to

Timothy Burke for review and use in this case and in United States v. Timothy

Burke, Case No. 8:24-cr-0068-KKM-TGW (the “Burke Case”).

      2.     IT IS FURTHER ORDERED that, should Timothy Burke make

any use of the Affidavit in Support and/or its attachments in this case or in the

Burke Case, the United States may also use the Affidavit in Support and its

attachments in the same case;

      3.     IT IS FURTHER ORDERED that, should any party make use

of or refer to the Affidavit in Support and/or its attachments in public filings
or argument in this case or in the Burke Case, that party shall, absent Court

permission, redact or otherwise refrain from referring to any individual

identified within the document other than a defendant charged in the Burke

Case; and

      4.      IT IS FURTHER ORDERED that the Affidavit in Support of

Search Warrant and its attachments shall remain otherwise sealed by the Clerk

of the Court until May 4, 2024, unless extended by further order of the Court.

      DONE AND ORDERED in Chambers at Tampa, Florida, this 22nd

day of February 2024.


                                        ________________________________
                                        SEAN P. FLYNN
                                        United States Magistrate Judge


Copies to:   Jay G. Trezevant
             Assistant United States Attorney
